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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------- x
                                                                    :
THE PEOPLE OF THE STATE OF NEW YORK,                                :
                                                                    :   23 Civ. 3773 (AKH)
                 v.                                                 :
                                                                    :
DONALD J. TRUMP,                                                    :
                                                                    :   NOTICE OF APPEAL
                                             Defendant.             :
                                                                    :
------------------------------------------------------------------- x


Notice is hereby given that Donald J. Trump appeals to the United States Court of Appeals for
the Second Circuit from the judgment and order entered on July 19, 2023, that denied Donald J.
Trump’s removal motion and granted the People’s motion to remand this case to state court.


 Dated:       New York, New York
              July 28, 2023

                                                     Respectfully submitted,

                                                        /s/
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cc: ADA Matthew Colangelo (via ECF)
